      Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DENNIS MURPHY, Guardian Ad Litem
for N.E.D., an incapacitated minor; JACOB
DOTSON; DOMINQUE BILLY, individually
and as next friend of I.C. and S.D., minors

               Plaintiffs,

v.                                                           No. 1:17-cv-00384 JAP/JHR

THE UNITED STATES OF AMERICA,

               Defendant.


                             MEMORANDUM OPINION AND ORDER

       On March 8, 2019, Plaintiffs Dennis Murphy, Guardian Ad Litem for N.E.D., Jacob

Dotson, and Dominique Billy, individually and as next friend of I.C. and S.D., minors (Plaintiffs),

filed Plaintiffs’ Motion in Limine to Exclude Collateral Source Evidence (Motion) (Doc. 155). In

the Motion, Plaintiffs ask the Court to prohibit Defendant United States of America (Defendant or

United States) “from presenting any evidence that support reducing its damages to N.E.D. for her

past, present and future medical and nonmedical care because such evidence is prohibited under

New Mexico’s collateral source rule.” (Doc. 155 at 1). On March 29, 2019, the United States filed

its response, and the Motion is fully briefed. 1 On April 30, 2019, the Court held a pretrial

conference and heard argument on the Motion. The Court, having considered the parties’ briefing,

arguments, and relevant law will grant the Motion in part and deny it in part.




1
 See THE UNITED STATES’ RESPONSE TO PLAINTIFFS’ MOTION IN LIMINE RE: COLLATERAL
SOURCE. (Response) (Doc. 164); PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF THEIR
MOTION IN LIMINE TO EXCLUDE COLLATERAL SOURCE EVIDENCE (Reply) (Doc. 167).
      Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 2 of 9




                                      LEGAL STANDARD

       Courts have discretion in ruling on motions in limine. See Cavanaugh v. Woods Cross City,

718 F.3d 1244, 1249 (10th Cir. 2013). This case is scheduled for a non-jury trial and the Tenth

Circuit has observed that “in bench trials questions raised relative to the admission or exclusion of

evidence…become relatively unimportant, because the rules of evidence are intended primarily

for the purpose of withdrawing from the jury matter which might improperly sway the verdict.”

Tosco Corp. v. Koch Industries, Inc., 216 F.3d 886, 896 (10th Cir. 2000) (internal quotation marks

and citation omitted). Rather, there is a presumption that in a bench trial a court will consider only

competent evidence and disregard any incompetent evidence. See id. But motions in limine can be

useful procedural tools “necessary to facilitate the efficient administration of justice.” Grand

Canyon Trust v. Public Serv. Co. of N.M., 294 F. Supp. 2d 1246, 1247 (D.N.M. 2003). “A motion

in limine provides the court with the opportunity to rule on the admissibility of evidence and thus

prevents encumbering the record with irrelevant material.” Id.

                                         BACKGROUND

       Plaintiffs filed suit against Defendant seeking damages for alleged medical negligence,

negligent training and supervision, and personal injuries under the Federal Tort Claims Act

(FTCA), 28 U.S.C. § 2671, et seq., and New Mexico state law. See First Amended Complaint

(FAC). 2 Plaintiffs’ claims arise out of emergency medical treatment rendered to minor child

N.E.D. in February 2016 at the Gallup Indian Medical Center (GIMC), an Indian Health Services

facility in Gallup, New Mexico, following the child’s fall from playground equipment in a city


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 See FIRST AMENDED COMPLAINT FOR MEDICAL NEGLIGENCE, PERSONAL INJURIES AND
DAMAGES ARISING UNDER FEDERAL TORT CLAIMS ACT AND NEW MEXICO LAW (FAC) (Doc. 51).

                                                  2
      Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 3 of 9




park. Plaintiffs allege, among other things, that GIMC medical personnel failed to properly protect

and monitor N.E.D.’s airway following a rapid sequence induction and intubation. See FAC ¶ 36.

Plaintiffs claim this ultimately led to deprivation of oxygen for a period sufficient to cause N.E.D.

to suffer a permanent hypoxic brain injury. See id.

        Plaintiffs seek to bar from admission during trial “any and all evidence of collateral source

payments” to which N.E.D. may be entitled as part of her past, present, and future care because

such evidence is prohibited by New Mexico’s collateral source rule and is “irrelevant,

inadmissible, and substantially more prejudicial than probative.” (Doc. 155 at 1, 15; Doc. 167 at

4-5). The United States argues that, to the extent Plaintiffs are suggesting that the United States

“be precluded from presenting evidence challenging the reasonableness of Plaintiffs alleged

damages, past or future, medical or non-medical” the Motion should be denied. (Doc. 164 at 5).

                                            DISCUSSION

        The Federal Tort Claims Act (FTCA) states that the government “shall be liable [for tort

claims]…in the same manner and to the same extent as a private individual under like

circumstances[.]” 28 U.S.C. § 2674. While the FTCA provides a mechanism for bringing a state

law tort action against the United States in federal court, it does not itself create a substantive cause

of action. See Lomando v. United States, 667 F.3d 363, 372 (3d Cir. 2011). Accordingly, the extent

of the government’s liability under the FTCA is determined by reference to state law. See Haceesa

v. United States, 309 F.3d 722, 724 (10th Cir. 2002).

        New Mexico courts recognize what is known at the “collateral source” rule. “The collateral

source rule allows a plaintiff to seek full recovery from a tortfeasor even though an independent

source has compensated the plaintiff in full or in part for the loss.” Green v. Denver & Rio Grande

                                                   3
      Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 4 of 9




Western R.R. Co., 59 F.3d 1029, 1032 (10th Cir. 1995). Under the collateral source rule, “a

wrongdoer may not reduce the amount of damages he must pay to the victim by amounts already

paid to the victim by an independent (or collateral) source.” Fairres v. Byrne, No. 8-cv-1183

WJ/ACT, 2010 WL 11596239, at *1 (D. N.M. June 8, 2010). There are two primary rationales for

the rule. “First, public policy favors giving the plaintiff a double recovery rather than allowing the

wrongdoer to enjoy reduced liability simply because the plaintiff received compensation from an

independent source.” Green., 59 F.3d at 1032. The second rationale is that “by assuring a plaintiff’s

payments from a collateral source will not be reduced by a subsequent judgment, the rule

encourages the maintenance of insurance.” Id.

       There are “exceptions to the rule that evidence of collateral source payments is

inadmissible.” Chavez v. Dennis, No. 05-cv-186, 2006 WL 8444105, *1 (D. N.M. June 22, 2006)

(discussing exceptions). Additionally, “[t]he collateral source rule generally does not apply when

the collateral source is somehow identified with the tortfeasor…in a suit against the tortfeasor.”

Id. (internal quotation marks and citation omitted). Under those circumstances, “[i]n effect, the

source is not sufficiently collateral to or independent of the tortfeasor; it is as if the tortfeasor

himself paid.” Quinones v. Pennsylvania Gen. Ins. Co., 804 F.2d 1167, 1171-72 (10th Cir. 1986).

The Tenth Circuit instructs that in such cases, “the tortfeasor’s liability is reduced by the amount

of payment made.” Id. (emphasis in original). Therefore, “[i]n the context of a FTCA suit, an

injured party who has already been compensated for his or her injuries can also recover damages

from the United States unless the sources of the original compensation were funds provided by the

United States.” Berg v. United States, 806 F.2d 978, 984 (10th Cir. 1986)(emphasis added).

       Plaintiffs suggest that the United States has taken a position that any damages that may be

                                                  4
        Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 5 of 9




awarded for N.E.D.’s “past, present and future medical and non-medical care should be reduced

or ‘off-set’ by the amount that will be paid by any government funded programs.” (Doc. 155 at

2).3 Plaintiffs argue that evidence of any benefits funded from the federal government do not fall

within the exception to the collateral source rule because “payments from government programs

to which N.E.D.’s parents contributed are considered to come from a ‘collateral source.’” (Doc.

155 at 3). Specifically, Plaintiffs argue that payment of or availability of federal public benefits

such as Medicaid, Medicare, and special education support provided under Part B of the

Individuals with Disabilities Education Act (IDEA), should be treated as coming from collateral

sources.

         The United States does not contest application of the collateral source rule to

circumstances, as here, where a plaintiff seeks recovery of expenses for which the plaintiff has

already been compensated by an insurer. (Doc. 164 at 2). However, the United States argues that

Plaintiffs should not be permitted to extend the collateral source rule “to permit recovery of all

future medical care, even if it is not actually sought, and even if it is available or provided by

governmental or other sources at a reduced or no cost to the Plaintiff.” (Doc. 164 at 2). Rather, the

United States argues that it is permitted to challenge whether a particular medical expense is


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  Plaintiffs concerns regarding the United States’ potential introduction of prohibited collateral source evidence
appears to stem from Plaintiffs’ objection to a proposed reversionary trust instrument presented to them by the United
States. In that proposed instrument, there are several clauses that require the trust administrator to first submit request
for payment to other sources or benefits before turning to the trust funds. (Doc. 155 at 6-8). Whether or not a
reversionary trust would be appropriate in this case is the subject of separate briefing by the parties and the Court will
not address those arguments here. See PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO THE
ESTABLISHMENT OF A REVERSIONARY TRUST (Doc. 156); THE UNITED STATES’ RESPONSE BRIEF IN
SUPPORT OF ESTABLISHMENT OF A REVERSIONARY TRUST (Doc. 163); THE UNITED STATES’ BRIEF
IN SUPPORT OF ESTABLISHMENT OF A REVERSIONARY TRUST (Doc. 159); PLAINTIFFS’ RESPONSE
TO THE UNITED STATES’ BRIEF IN SUPPORT OF ESTABLISHMENT OF A REVERSIONARY TRUST (Doc.
162).


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       Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 6 of 9




“reasonably certain to be received in the future,” by presenting its own evidence that such care is

unnecessary or is available at no cost or via governmental services. (Doc. 164 at 3). The United

States also contends that it is allowed to present evidence that Plaintiffs have not sought or are

unlikely to seek a certain type of care. (Doc. 164 at 3).

         Plaintiffs’ Motion is in some ways premature. Government programs and benefits such as

Medicare and Medicaid have increased the complexity of applying the collateral source rule.

Plaintiffs are effectively asking the Court to make a blanket ruling in a vacuum prohibiting any

and all evidence of collateral source payments without information regarding actual sources of

payments and write-offs for N.E.D.’s past medical expenses that Plaintiffs believe to fall under the

rule and without having yet heard evidence regarding N.E.D.’s future needs. Moreover,

determining whether a particular source of payment or requested “off set” is a collateral source

requires a plaintiff to show that “he or she contributed to a special fund that is separate and distinct

from general government revenues.”4 Berg, 806 F.2d at 985 (noting that in Steckler v. United

States, 549 F.2d 1372, 1379 (10th Cir. 1977), the test the Tenth Circuit “applied to determine

whether a particular payment was collateral or not focused on whether the injured party had

contributed to the fund from which he or she was now collecting”). Counsel’s argument in briefing

that N.E.D.’s father contributed to “such funds” does not satisfy Plaintiffs’ burden; rather,

Plaintiffs’ contention must be supported by admissible evidence.



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  When determining whether a particular source of benefits or payments is collateral in the context of a dependent
minor plaintiff, Courts have looked to payments into a special fund distinct from government revenues by person(s)
on whom the minor plaintiff is dependent. See, e.g., Overton v. United States, 619 F.2d 1299, 1308 (8th Cir. 1980)
(“plaintiffs receiving governmental benefits should receive their FTCA awards free of any set-off for those benefits if
there is a showing or a presumption that they or one on whom they were dependent paid a special levy or fee to make
the benefit possible”) (emphasis added).

                                                          6
      Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 7 of 9




       If the United States is found liable for N.E.D.’s injuries and damages are awarded,

Plaintiffs should be able to make full recovery for N.E.D.’s past medical expenses against the

United States, notwithstanding the fact that N.E.D.’s own insurance policy or other collateral

source, may have already reimbursed Plaintiffs for these losses. New Mexico’s collateral source

rule is clear on this and the vast weight of authority applies the collateral source rule to allow

recovery of all past medical costs despite insurance payments and write offs. See, e.g., Prager v.

Campbell Cty. Mem’l Hosp., 731 F.3d 1046, 1059 (10th Cir. 2013); Pipkins v. TA Operating Corp.,

466 F. Supp. 2d 1255, 1258-59 (D. N.M. 2006).

       However, under New Mexico law, “[a] party seeking to recover damages has the burden

of proving the existence of injuries and resulting damage with reasonable certainty.” Sandoval v.

Baker Hughes Oilfield Operations, Inc., 2009-NMCA-095, ¶ 25, 146 N.M. 853, 215 P.3d 791.

“An award of damages is improper if it is predicated ‘upon conjecture, guess, surmise or

speculation.’” Mosley v. Titus, 762 F. Supp. 2d 1298, 1324 (D.N.M. 2010) (quoting Sanchez v.

Martinez, 1982-NMCA-168, ¶ 20, 99 N.M. 66, 653 P.2d 897); see also Rael v. F & S Co., Inc.,

1979-NMCA-128, ¶ 13, 94 N.M. 507, 612 P.2d 1318 (“Damages based on surmise, conjecture or

speculation cannot be sustained. Damages must be proved with reasonable certainty. There is no

exception to the…rule for future damages. The ultimate fact which the plaintiff has the burden of

proving is future damages reasonably certain to occur as a result of the original injury.”).

Accordingly, in order for the United States to be found liable for N.E.D.’s future medical expenses

and care, Plaintiffs will have to prove those damages with reasonable certainty.

       The United States will have the opportunity to challenge Plaintiffs’ evidence with its own

evidence demonstrating that such damages are unrelated to N.E.D.’s alleged injury or not

                                                7
      Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 8 of 9




“reasonably certain” to occur. Also, the United States is not precluded from introducing evidence

that the reasonable value of past medical expenses is not reflected by the billed amounts. See

Williamson v. Metro. Prop. & Cas. Ins. Co., No. 15-cv-958, JCH/LF, 2018 WL 1787510, at *4

(D. N.M. April 12, 2018) (holding that “[t]he policy reasons behind the collateral source doctrine

compel the conclusion that the evidence of the [medical care provider’s] write-offs should be

excluded” but warning that the court’s ruling “does not prevent Defendant from introducing

evidence that the reasonable value of medical services is not reflected by the billed amounts”).

Application of the collateral source rule to bar the United States from introducing competing

evidence of the reasonable value of services would be inappropriate. See id. (“The collateral source

rule does not restrict evidence concerning the reasonableness of expenses for medical services

generally, but it does restrict the admission of evidence of the amount of write-downs Plaintiff, as

the injured party, received as a benefit from a source separate from the tortfeasor.”).

       Ultimately, if the trial judge awards damages for N.E.D.’s future medical expenses and

care, additional argument may be required to determine whether any off-sets the United States may

request are considered collateral sources. Absent the benefit of knowing what future care needs

Plaintiffs may seek, and what challenges to the reasonableness of those services the United States

might bring, the Court will not speculate at this time on application of the collateral source rule to

damages for future medical expenses and care. The Court declines Plaintiffs’ request to issue a

blanket order excluding any and all evidence of collateral source payments. Rather, the Court will

grant Plaintiffs’ Motion in part and exclude collateral source evidence to the extent that it is

normally inadmissible as a means of showing that Plaintiffs received compensation from a

collateral source for past medical expenses caused by the United States’ allegedly wrongful acts.

                                                  8
       Case 1:17-cv-00384-JAP-JHR Document 177 Filed 06/06/19 Page 9 of 9




However, the Court will deny Plaintiffs’ Motion to the extent that Plaintiffs seek to exclude

evidence that may be presented by the United States challenging (1) the necessity of past medical

care N.E.D. received as a result of her alleged injuries; (2) whether the expense of certain necessary

past medical care was reasonable; (3) whether N.E.D. is reasonably certain to receive Plaintiffs’

proposed future medical and non-medical care, treatment and services;5 and (4) the present cash

value of the necessary and reasonable expenses for future medical and nonmedical care, treatment

and services required by N.E.D. as a result of her alleged injuries. The trial judge will hear

objections to such proffered evidence and rule upon them in the context of the trial.

         IT IS THEREFORE ORDERED THAT Plaintiffs’ Motion in Limine to Exclude Collateral

Source Evidence (Doc. 155) is GRANTED in part and DENIED in part as described above.




                                                      _________________________________________
                                                      SENIOR UNITED STATES DISTRICT JUDGE




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  Under the New Mexico Medical Malpractice Act (MMA), “[e]xcept for punitive damages and medical care and
related benefits, the aggregate dollar amount recoverable” arising from injury to a patient as a result of malpractice
shall not exceed $600,000 per occurrence. NMSA 1978, § 41-5-6(A). New Mexico’s recovery cap applies in suits
against the United States. See Haceesa v. United States, 309 F.3d 722, 726 (10th Cir. 2002). Accordingly, any
“nonmedical care” referenced by Plaintiffs in briefing not falling within this exception would be capped at $600,000.


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